                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
               Plaintiff,                     )
                                              )
                       v.                     )      No. 4:12 CR 472 RWS
                                              )
MICHAEL SMITH,                                )
                                              )
               Defendant.                     )

                            MOTION TO DISMISS INDICTMENT

       COMES NOW the United States of America, by and through the United States Attorney

for the Eastern District of Missouri, Richard G. Callahan, and Thomas J. Mehan, Assistant

United States Attorney for said district, and files its motion pursuant to Rule 48(a) of the Federal

Rules of Criminal Procedure to dismiss the Indictment filed on December 19, 2012.

                                                     Respectfully submitted,


                                                     RICHARD G. CALLAHAN
                                                     United States Attorney

                                                       /s/ Thomas J. Mehan
                                                     Thomas J. Mehan, #28958MO
                                                     Assistant United States Attorney




                                CERTIFICATE OF SERVICE

       I hereby certify that on November 21, 2013, the foregoing was filed electronically with the
Clerk of the Court to be served by operation of the Court’s electronic filing system upon all users.

                                                     s/Thomas J. Mehan
                                                     Thomas J. Mehan, #28958MO
                                                     Assistant United States Attorney
